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                                             ORDERED.


       Dated: January 05, 2018




                               UNITED STATES BANKRUPTCY COURT
                                      Middle District of Florida
                                         Orlando Division


IN RE:                                                   Case No:         6:17-bk-04240-ABB

  Helen Romania Elder

                                                         Chapter 13

                                        Debtor


         Order Granting Trustee's Motion to Dismiss for Failure to Maintain Plan Payments

   THIS CASE came on for consideration upon the Trustee's Motion to Dismiss Case for Failure to Maintain
Timely Plan Payments (Document No. 56). The Court, having found that the Debtor failed to become current
under the Motion, finds that this case should be dismissed.

Accordingly, it is hereby ORDERED AND ADJUDGED AS FOLLOWS:
    1. The Motion to Dismiss is granted and this case is dismissed.
     2. If the automatic stay imposed by 11 U.S.C. § 362(a) or § 1301 is in effect at the time this Order is
     entered, the stay is extended 14 days from the date of this Order, notwithstanding the provisions of 11
     U.S.C. § 362(c)(2)(B).
     3. The Trustee shall refund all funds on hand, if any, to the Debtor in care of the Debtor's attorney, when
     represented by an attorney.
     4. The effective date of this order is delayed fourteen (14) days to permit the Debtor to file a Notice of
     Conversion, along with the $25.00 trustee surcharge required by the Bankruptcy Court Fee Schedule.
     5. All pending hearings are canceled with the exception of any hearing on a motion for relief from stay
     currently scheduled within 14 days from the date of this order and any hearing on an Order to Show
     Cause over which the Court reserves jurisdiction.
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     6. The Debtor, the Trustee, or any party in interest, may, within 14 days from the date of this Order,
     request the Court to examine the fees paid to Debtor's attorney and request disgorgement of any portion
     deemed excessive. The Court shall retain jurisdiction for this purpose.
     7. The Trustee is discharged from any further duties.



Copies furnished to: All Creditors and Interested Parties.

Trustee Laurie K Weatherford is directed to serve a copy of this order on interested parties and file a proof of
service within 3 days of entry of the order.
